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UNITED STATES BANKRUP-TCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re: Chapter 11
Blue Gold Equities LLC, et al., Case No.: 18- ( )
Debtors.l Joint Administration Requested

 

 

MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER (I)
AUTHORIZING THE DEBTORS TO MAINTAIN AND FILE A
CONSOLIDATED CREDITOR MATRIX AND MAILING MATRIX; AND
(II) AUTHORIZING THE FILING OF A CONSOLIDATED LIST OF TOP
30 UNSECURED CREDITORS (III) AUTHORIZING THE DEBTORS TO
CONTINUE USE OF THEIR PREPETITION FORMS, AND (IV)
EXTENDING THE DEADLINE FOR DEBTORS FILING ()F THE
DEBTORS’ STATEMENTS AND SCHEDULES THROUGH SIXTY DAYS
FROM THE PETITION DATE

Blue Gold Equities LLC, and its affiliated debtors (oollectively, the “Debtors”), by and
through their proposed counsel, Zeichner Ellrnan & Krause LLP, hereby submit this motion (the

“Motion” pursuant to sections lOS(a) and 521 of title 11 of the United States Code (the

 

The Debtors in these Chapter ll cases, together With the last four digits of each Debtor’s federal tax identification
number, are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961), Amsterdam Avenue
Market LLC (7988), Wilrnot Road Market LLC (8020), Seasons Express Inwood LLC (1703), Seasons Lakewood
LLC (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC (3331), Seasons Cleveland LLC (7367),
Lawrence Supermarket LLC (8258), Upper West Side Superrnarket LLC (8895) and Seasons Corporate LLC
(2266) (collectively the “Debtors”). The mailing address for the Debtors, solely for purposes of notices and
communications, is: 5 Doughty Boulevard, Inwood, NY 11096.

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“Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
Ri_il_e_s’_’) and Rules 1007-1 and 1007-3 of the Local Bankruptcy Rules for the Eastern District of
New York (the “Local Rules”), for the entry of an order, in substantially the form attached as
Exhibit A (the “Proposed Order”), (i) authorizing the Debtors to maintain and file a consolidated
mailing matrix of creditors and other parties in interest (the “Consolidated Creditor Matrix”), (ii)
authorizing the Debtors to file a consolidated list of top thirty (30) unsecured creditors (the

“Consolidated Top 30 List:) in lieu of filing a separate list of top twenty (20) creditors Who have

 

unsecured claims for each of the Debtors, and (iii) continued use of the Debtors’ pre-petition
business forms, (iv) extending the Debtors time to file their Statements and Schedules (both as
defined beloW) through sixty (60) days after the Petition Date. ln further support of the Motion,
the Debtors respectfully state as folloWs:

JURISDICTION AND VENUE

1. The Court has jurisdiction over these cases, the Debtors, their estates and this
Motion, under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S,C. § 157(b).

2. Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The Debtors consent to the entry of a final judgment or order With respect to
the Motion if it is determined that the Court, absent consent of the parties, cannot enter final
orders or judgments consistent With Article Ill of the United States Constitution.

4. ' The statutory basis for the relief requested in the Motion are sections 105 (a) and
521 of the Bankruptcy Code, Bankruptcy Rule 1007 and Local Rules 1007-1 and 1007-3.

5. Additional factual background regarding the Debtors, including their business

operations, capital and debt structures, and the events leading to the filing of these chapter 11

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cases, is set forth in detail in the 'Declaration ofJoel Getzler in Supporz‘ of Chapter l ] Petitions

and Firsz‘ Day Motions (the “First Day Declaration”) [D.l. _].

BACKGROUND

6. On the date hereof (the “Petition Date” )3 each of the Debtors filed With this Court
a voluntary petition for relief under chapter ll of the Bankruptcy Code. The Debtors continue to
be in possession of their assets and to operate their businesses and manage their properties as
debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the
date hereof, no trustee, examiner, or official committee of unsecured creditors has been appointed
in the Debtors’ chapter 11 cases.

7. Additional factual background regarding the Debtors, including their business
operations, capital and debt structures, and the events leading to the filing of these chapter 11
cases, is set forth in detail in the First Day Declaration, Which is fully incorporated in this Motion

by reference

RELIEF REoUEsTEi)

8. By this Motion, the Debtors seek entry of an order, pursuant to sections 105 (a)
and 521 of the Bankruptcy Code, Bankruptcy Rule 1007, and Local Rules 1007-l and 1007-3,
authorizing the Debtors to (i) maintain and file a Consolidated Creditor Matrix, (ii) file the
Consolidated Top 30 list in lieu of filing a separate list of top twenty (20) creditors Who have
unsecured claims for each of the Debtors, (iii) continued use by the Debtors of their prepetition
business forms, and (iv) extending the deadline to file the Schedules and Statements through
sixty (60) days from the Petition Date, through and including November _, 2018, Without

prejudice to the Debtors’ rights to request additional time.

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BASIS F()R RELIEF
Creditors’ List and Mailing Matrix
9. Section 521(a)(1)(A) of the Bankruptcy Code requires each Debtor to, among

other things, file a list of creditors 11 U.S.C. § 521(a)(1). Additionally, Bankruptcy Rule
1007(a)(1) provides, in salient part, that “the debtor shall filed with the petition a list containing
the name and address of each entity included or to be included on Schedules D, E, F, G, and H
as prescribed by the Official Forms.” Fed. R. Bankr. P. 1007(a)(1). Local Rule 1007-1(a)
provides, in relevant part, that “in addition to the schedules, a list shall be filed Which sets forth
the names of all creditors in alphabetical order,” including “the post office address, zip code, and
the specific amount of debt, if known, owed to each listed creditor.” Local Rule 1007-1(a).

10. Additionally, Local Rule 1007-3(a)(i) requires each Debtor to file “a mailing
matrix which shall include, in alphabetical order, the name and last known mailing address
(iiicluding zip codes) for every scheduled creditor” with the petition for relief. Moreover, if the
Debtor is a corporation, Local Rule 1007-3(a)(iii) requires each corporate Debtor’s mailing
matrix to include:

(1) the names and current mailing addresses of the present
officers and directors and the position held by each, or if none,
the immediate past officers and past directors; and (2) the name
and address of any person who may be served pursuant to
Bankruptcy Rule 7004(b)(3). In addition, the debtor shall file
with its list of equity security holders a separate mailing matrix

containing the name and last known address or place of business
of each equity security holder.

Local Rule 1007-3.

ll. The Debtors estimate that the total number of their creditors and other parties-

in-interest are approximately 800. The Debtors maintain and update a computerized list of

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creditors and parties-in-interest that would be entitled to receive notices in these chapter 11 cases

in the ordinary course of the business and will be able to consolidate the information contained
in the Debtors’ computerized lists to provide notices and other pleadings to their creditors and

other parties-in-interest as required by Local Rules 1007-1 and 1007-3. However, at this time, 7
the Debtors do not have readily available claim amounts for the majority of the parties on such
list of creditors Therefore, the Debtors request authority to consolidate the Debtors’ list of
creditors and other parties-in-interest, identifying their creditors in substantially the same formats
that are currently maintained by the Debtors in the ordinary course of their businesses and to omit
claim amounts of creditors from such list.

12. Further, the list of top twenty (20) creditors who have unsecured claims is used
primarily by the office of the United States Trustee (the “U.S. Trustee”) to evaluate the types and
amounts of unsecured claims against a debtor and to identify potential candidates to serve on a
committee of unsecured creditors appointed under section 1102 of the Bankruptcy Code. See In
re Dana'y Doughboy Donul‘s, Inc., 66 B.R. 457, 458 (Bankr. S.D. Fla. 1986) (stating that the
purpose of the top twenty list is to facilitate the appointment of an unsecured creditors
committee); Collier on Bankruptcyijl 1107.04 (15th ed. 1998) (stating that “the list enables the
United States Trustee to determine the different types of claims existing in order to assure that a
fully representative committee is appointed”). Given the affiliated nature of the Debtors, the
Debtors believe that filing the Consolidated Top 30 List would facilitate the U.S. Trustee’s
review of creditors’ claims and the appointment of a single unsecured creditors’ committee in
these chapter 11 cases.

13. Moreover, this Court’s Guidelines for First Day l\/lotions (the “Guidelines”)

provide that “[i]n cases involving multiple Debtors, if it would be impracticable for each Debtor

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to file a separate list, an explanation should be set forth in the Bankruptcy Rule 1007 affidavit
and a consolidated list of the holders of the thirty (30) largest unsecured claims should be filed.
[The First Day Declaration explains why the Debtors are seeking to file the Consolidated Top 30
List.] Accordingly, the Debtors are in compliance with the Guidelines.

14. The entry of an order authorizing the filing of a consolidated list of the Debtors’
creditors and list of top unsecured creditors in chapter 11 cases is generally non-controversial in
this and other jurisdictions See, e.g., In re Avaya, Inc., Case No. 17-10089 (Sl\/IB) (Bankr.
S.D.N.Y. Feb. 10, 2017) (authorizing debtors to file a consolidated list of top 50 creditors and a
consolidated list of creditors in lieu of any mailing matrix); In re Carz'l‘as Health Care, Inc. , Case
Nos. 09~40901 (CEC) (Bankr. E.D.N.Y. Feb. 10, 2009) (authorizing filing a consolidated list of
creditors in lieu of separate mailing matrices); In re Cenveo, Inc., Case No. 18-22178 (RDD)
(Bankr. S.D.N.Y. February 6, 2018) (same); In re Tz`dewater Inc., Case No. 17-11132 (BLS)
(Bankr. D. Del. Jun. 13, 2017) (same); In re CST Industries Hola'ing Inc., Case No. 17-11292
(BLS) (Bankr. D. Del. lun. 13, 2017) (same); In re Avaya Inc., Case No. 17-10089 (SMB)
(Bankr. S.D.N.Y. February 10, 2017) (same).

BUSINESS F()RMS

15. ln the ordinary course of their businesses the Debtors use a multitude of checks
and other business forms (including but not limited to checks, deposit slips, letterhead, contracts,
purchase orders and invoices) (collectively, the “Business Forms”). The majority of the Debtors'
bank accounts are managed electronically and do not use paper forms However, the Debtors
may use limited preprinted letterhead checks and related documents (the “Preprinted Forms”).
By virtue of the nature and scope of the Debtors' business operations, it is important that the

Debtors be permitted to continue to use the Preprinted Forms without alteration or change and

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without the “Debtor in Possession” designation Otherwise, the estates would be required to bear
a potentially significant expense which the Debtors respectfully submit is unwarranted To the
extent the Debtors’ checks are preprinted, once such preprinted checks are depleted, the Debtors
will then seek to replace them with forms containing the “Debtor in Possession” designation

16. As parties that presently conduct business with the Debtors likely will be aware of
the Debtors’ status as debtors in possession, the alteration of the Debtors' Preprinted Forms would
be unnecessary and unduly burdensome Further, this Court has allowed debtors to use their
prepetition business and check forms without the “Debtor in Possession” label in other large
cases. See, See, e.g., In re Dowling College, Case No. 16-75545 (REG) [D.I. 110] (Bankr.
E.D.N.Y. December 16, 2016) (authorizing debtors to use their present forms, including
preprinted checks, without reference to their status as debtors in possession, provided, however,
that debtors would start imprinting the legend “DIP” thereon following depletion of the Debtors’
inventory of preprinted forms); In re Cenveo, Inc., Case No. 18-22178 (RDD) [D.l. 183] (Bankr.
S.D._N.Y. March 8 2018) (same).
Exten_sion of Time to File Schedules

17. Pursuant to section 521 of the Bankruptcy Code and Bankruptcy Rule 1007 (c), the
Debtors would ordinarily be required the file the Schedules and Statements within fourteen (14)
days after the Petition Date (the “Initial Deadline”). However, this Court has authority to grant
the Debtors’ requested extension under Bankruptcy Rules 1007(c) and 9006(b). Bankruptcy Rule
1007(c) provides that “any extension of time to file schedules, statements, and other documents
required under this rule may be granted only on motion for cause shown . . . .” FED. R. BANKR.

P. 1007(c). Further, Bankruptcy Rule 9006(b) provides tha “when an act is required or allowed

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to be done at or within a specified period . . . the court for cause shown may at any time in its
discretion . . . order the period enlarged.”

18. The Debtors respectfully submit that cause exists to extend the Debtors’ time to file
the Schedules and Statements beyond the lnitial Deadline. The scope and complexity of the
Debtors’ businesses, coupled with the limited time and resources available to the Debtors to
marshal the required information, necessitate an extension of the Initial Deadline. Given the size
and complexity of the Debtors’ operations, a significant amount of information must be
accumulated, reviewed, and analyzed to properly prepare the Schedules and Statements. The
Debtors and their professionals have been consumed with a multitude of critical administrative
and operational decisions arising in conjunction with the commencement and early
administration of these chapter 11 cases, including preparing for the Debtors’ entry into chapter
11, and addressing multiple critical, operational and strategic matters ln addition, the Debtors
have prepared and filed a number of motions and applications to ensure that the Debtors
successfully prosecute these chapter 11 cases in a timely and efficient manner.

19. Moreover, due to the complexity of the Debtors’ businesses and their history,
compiling and consolidating the data required for the Schedules and Statements presents a
complex and time-consuming task. Although the Debtors and their professionals have been
working diligently on completing the Schedules and Statements as early as possible, it will be
extremely challenging to complete this undertaking prior to the expiration of the Initial Deadline.

20. ln light of the foregoing, an extension of the lnitial Deadline for a total of sixty (60)
days from the Petition Date, without prejudice to the Debtors’ right to seek further extensions if
necessary, is appropriate because the Debtors believe that this extension will provide the

necessary time for the Debtors to complete accurate Schedules and Statements.

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21. Courts in this and other jurisdictions have granted similar relief in other cases See,
e.g., ln re Avaya lnc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Feb. 10, 2017) (granting an
additional 47 days to file schedules and statements); In re Personal Communications Devic§1
M, Case No. 13-74303 (AST) (Bankr. E.D.N.Y. Aug. 21, 2013) (granting an additional 31
days to file schedules and statements); ln re lnterfaith Medical Center, lnc., Case No. 12-48226
(CEC) (Bankr. E.D.N.Y. December 4, 2012) (granting an additional 45 days to file schedules and
statements); In re Global Aviation Holdings Inc., Case No. 12-40783 (CEC) (Bankr. E.D.N.Y.
Feb. 7, 2012) (same).

22. For the foregoing reasons, the Debtors submit that the relief requested herein is
necessary, appropriate, and in the best interest of the Debtors, their creditors and their estates and
that the Motion should therefore be granted

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23. Notice of this Motion shall be provided to: (i) the Office of the United States
Trustee for the Eastern District of New York; (ii) the United States Attorney for the Eastern
District of New York; (iii) the parties included on the Debtors’ consolidated list of thirty (30)
largest creditors; (iv) all Secured Creditors, (v) all other parties required to receive service under
Rules 2002-2 of the Local Bankruptcy Rules for the Eastern District of New York and the
Guidelines for First Day Motions adopted by the Board of Judges for the United States
Bankruptcy Court for the Eastern District of New York. Due to the urgency of the circumstances
surrounding this Motion and the nature of the relief in it, the Debtors respectfully submit that no

further notice of this Motion is required

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WHEREFORE, the Debtors respectfully request that the Court (i) enter an order
substantially in the form attached hereto as Exhibit A, and (iii) grant such other and further relief
as the Court may deem proper.

Dated: September !Q, 2018
New York, New York
Respectfully submitted,

ZEICHNER ELLMAN & KRAUSE LLP

/s/Nathan S chwed

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EXHIBIT A

PROP()SED ORDER

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Proposed Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW Y()RK

 

In re: Chapter 11
Blue Gold Equities LLC, et al., Case No.: 18- ( )
Debtors1 Joint Administration Requested

 

 

ORDER (i) AUTHORIZING THE DEBTORS TO MAINTAIN AND FILE A
CONSOLIDATED CREDITOR MATRIX AND MAILING MATRIX; (ii)
AUTHORIZING THE FILING OF A CONSOLIDATED LIST OF TOP 30
UNSECURED CREDITORS; (iii) AUTHORIZING THE DEBTORS
CONTINUE USE OF THEIR PRE-PETITION FORMS, AND (iv)
EXTENDING THE TIME FOR THE DEBTORS TO FILE THEIR
SCHEDULES AND STATEMENTS WITH THE COURT THROUGH
SIXTY (60) DAYS FROM THE PETITION DATE

This matter coming before the court on the Motion of the Debtors for Entry of an
Order (I) Authorizing the Debtors to Maintain and File a Consolidated Creditor l\/Iatrix; and (Il)
Authorizing the Filing of a Consolidated List of Top 30 Unsecured Creditors (the “Motion”), filed

by the above-captioned debtors (collectively, the “Debtors”); (iii) Authorizing the Debtors to

 

1 The Debtors in these Chapter 11 cases, together With the last four digits of each Debtor’s federal tax identification
number, are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961), Amsterdam Avenue
Market LLC (7988), Wilmot Road Market LLC (8020), Seasons Express Inwood LLC (1703), Seasons Lakewood
LLC (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC (3331), Seasons Cleveland LLC (7367),
Lawrence Supermarket LLC (8258), Upper West Side Supermarket LLC (8895) and Seasons Corporate LLC
(2266) (collectively the “Debtors”). The mailing address for the Debtors, solely for purposes of notices and
communications is: 5 Doughty Boulevard, Inwood, NY 11096.

 

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Continue their use of their Prepetition Forms as defined below, and (iv) Extending the time for the
Debtors to file their Schedules and Statements through sixty (60) days from the petition Date, all
as further described in the l\/Iotion; the Court having found that (i) the Court has jurisdiction over
this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue is proper in this district pursuant to
28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b), (iv)
notice of the Motion being adequate and appropriate under the particular circumstances; the Court
having reviewed the Motion and the First Day Declaration and having considered the statements
of counsel and the evidence adduced with respect to the Motion at the hearing; after due
deliberation, and good and sufficient cause having been shown,

1. The Motion is GRANTED as set forth in this Order.

2. The Debtors shall be permitted to maintain (through their claims and
noticing agent or otherwise) and file a single, consolidated mailing matrix of creditors and other
parties-in-interest (the “Consolidated Creditor Matrix”), which matrix shall be deemed to satisfy
the requirements of section 521(a) of the Bankruptcy Code, Bankruptcy Rule 1007(a) and Local
Rules 1007-1 and 1007-3.

3. The Debtors are authorized to file the Consolidated Creditor Matrix in
substantially the same format that is currently maintained by the Debtors in the ordinary course of
their business and to omit any claim amounts therefrom

4. The Debtors shall be permitted to file a consolidated list of the top 30
unsecured creditors (the “Consolidated Top 30 List”). The Consolidated Top 30 List shall be
deemed to satisfy the requirements of Bankruptcy Rule 1007(d) and the Guidelines for each of the

Debtors

 

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5. Notwithstanding any Bankruptcy Rule or Local Rule to the contrary, this
Order shall be immediately effective and enforceable upon its entry.

6. The Debtors shall have sixty (60) days from the Petition Date, through and
including November ____, 2018, to file their Schedules and Statements with the Court.

7. This Order is without prejudice to the Debtors’ right to seek further
extensions of time within which the Debtors must file their Schedules and Statements

8. The Debtors are authorized to continue to use their existing checks and other
business forms which checks and business forms shall not be required to include the legend
“Debtor in Possession” or a debtor in possession case number; provided, however, that, respect to
checks or other business forms that the Debtors or their agents print themselves the Debtors shall
begin printing the “Debtor in Possession” legend, and include the debtor in possession lead case
number, on such items within ten (10) business days of the date of entry of this Final Order.
However, if new checks and business forms are ordered, such checks and business forms shall be
required to include the legend “Debtor in Possession” and a “debtor in possession case number.”
Third-party payroll and benefits administrators and providers are also authorized to prepare and
issue checks on behalf of the Debtors subject to the provisions of this paragraph

9. The Court shall retain jurisdiction over any and all matters arising from the
interpretation or implementation of this Order.

Dated: , New York
September ___, 2018

 

HONORABLE
UNITED STATES BANKRUPTCY JUDGE

 

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